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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:20-cv-20263-RNS

  MASTEC RENEWABLES PUERTO RICO,
  LLC,

          Plaintiff,

  v.

  MAMMOTH ENERGY SERVICES, INC. and
  COBRA ACQUISITIONS, LLC,

        Defendants.
  _________________________________________/

                           NOTICE OF SETTLEMENT AND JOINT
                       STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Local Rule 16.4, Plaintiff MasTec Renewables Puerto Rico, LLC and

  Defendant Cobra Acquisitions, LLC hereby notify the Court that they have reached a confidential

  settlement as to MasTec’s claims against Cobra in the above-captioned action.

          The Parties herby stipulate, pursuant to Fed. R. Civ. P. 41, that: (1) they have settled this

  action and all claims between them; (2) Plaintiff hereby dismisses with prejudice this action,

  including all claims that were previously brought in this action and were dismissed without

  prejudice (ECF Nos. 45, 49); and (3) the Parties shall bear their own costs and attorneys’ fees. The

  effectiveness of this stipulation of dismissal is conditioned upon the Court’s entry of an order

  retaining jurisdiction to enforce the terms of the parties’ settlement agreement, dated August 2,

  2021.

          Dated: August 3, 2021                 Respectfully submitted,


   /s/Benjamin Widlanski                          By: /s/ Peter W. Homer
   Benjamin Widlanski, Esq.                           Peter W. Homer
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                                 CERTIFICATE OF SERVICE
         I hereby certify that a true copy of the foregoing was served via email on August 3, 2021,

  on all counsel of record.

                                                      By: /s/ Benjamin J. Widlanski
                                                           Benjamin Widlanski, Esq.




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